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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.

          PROPOSED JOINT DISCOVERY PLAN PURSUANT TO RULE 26(f)

       Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Rule 26 of the Local

Rules of the United States District Court for the Eastern District of Virginia, and the Court’s

December 3, 2018 Pretrial Order (ECF No. 52), Plaintiffs Sony Music Entertainment, et al. (col-

lectively, “Plaintiffs”) and Cox Communications, Inc. and CoxCom, LLC (collectively, “De-

fendants”) submit this Proposed Joint Discovery Plan. The initial pretrial conference is set for

December 19, 2018 at 11 am pursuant to the Court’s Pretrial Order.

I. MEETING

       On November 19, 2018, the parties conferred to consider the nature and basis of

their claims and defenses, the possibility of a prompt settlement or resolution of the case,

and trial before a magistrate judge; to arrange for the disclosures required by Rule 26(a)(1);

and to develop this discovery plan.

II. INITIAL DISCLOSURES

       The parties have agreed to serve their initial disclosures pursuant to Federal Rule of Civil

Procedure 26(a)(1) on or before December 12, 2018.

III. DISCOVERY PLAN

       The parties jointly propose the following discovery plan:
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          A. Subjects:

          The scope of discovery will be governed by Federal Rule of Civil Procedure 26(b)

and this Court’s December 3, 2018 Order. (ECF No. 52.)

          B. Parties’ Discovery:

          1.   The Party with the burden of proof on an issue will serve opening expert report(s),

as required by Fed. R. Civ. P. 26, no later than April 10, 2019.

          2.   Any party intending to file expert reports responding to the opening expert reports

will serve the responsive reports, in accordance with Fed. R. Civ. P. 26, no later than May 8,

2019.

          3.   Any party intending to file reply expert reports will serve them no later than May

30, 2019.

          4.   All expert depositions must be completed by June 14, 2019.

          5.   Fact discovery and fact depositions must be completed by June 14, 2019.

          C. Pre-Trial Conference

          In accordance with this Court’s Order dated December 3, 2018, the final pre-

trial conference will be held on June 21, 2019, at 10:00 a.m. (ECF No 52.)

           D. Motions for Summary Judgment

     Motions for summary judgment, if any, will be filed by July 26, 2019.

IV. STIPULATIONS

           A. Electronically Stored Information

     The parties have agreed to preserve electronically stored information (“ESI”) that may be

relevant to this matter and will cooperatively attempt to agree on specific terms for the production

of ESI.
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               1. Production format

     The parties agree that documents will be produced in single-page Group IV TIFF format with

300 dpi resolution. Each image will have a unique filename, beginning with a standard prefix

selected by the producing party (for example, COX_SONY_*). Data may be de-duplicated across

custodians. Each page of an imaged document must be Bates-stamped.

     A document production will include an Opticon (.OPT) load file to indicate the location and

unitization of TIFF files. Documents will be produced with a .dat file with Concordance delimiters

(i.e., a load file) to indicate the beginning and ending production numbers; the production volume

ID; and the number of pages for each document produced. Extracted text files will be produced

for all images, but if extracted text is not available, images shall be OCR’ed and searchable when-

ever practicable. OCR text shall not be provided as a part of the .dat file. Parent-child relationships

(association between an attachment and its parent document) must be preserved except where the

attachment is otherwise not relevant to this litigation, but if an attachment is omitted then the pro-

ducing party must describe the nature of the omitted attachment(s), in a manner that will enable

other parties to assess the claim.

               2. Metadata

     The following metadata fields will be provided for each produced record to the extent such

fields exist or are available for that record and to the extent practically possible:

       •   Begin Bates                                         •   Date and Time Last Modified
       •   Begin Attach Bates                                  •   Date and Time Received
       •   End Attach Bates                                    •   Date and Time Sent
       •   End Bates                                           •   Document Extension
       •   Author                                              •   Email CC
       •   Date and Time Created                               •   Email From

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       •     Email Subject                                   •   MD5 Hash
       •     Email To                                        •   Message Header
       •     Email BCC                                       •   Message ID
       •     File Name                                       •   Native File (Path to Native in Pro-
                                                                 duction)
       •     File Size
                                                             •   Text (Path to Text in Production)
       •     File Type
       •     Last Accessed Date/Time


                3. Native files

     Any document that cannot be converted to TIFF, and any document that would become il-

legible or unusable when converted to TIFF, must be produced in native format. The parties agree

that the following documents will be provided in native form: spreadsheets (for example, .XLS,

.XLSX); media files (for example, .MP4, .WAV, .MPG, .AVI, .MOV, .WMV, .MPEG etc.). Doc-

uments produced in native format shall be produced with TIFF placeholders, branded with the

document’s Bates number and any confidentiality designation, displaying text stating that “This

File Was Produced in Native Format Only.” Documents produced in native format will be re-

named to reflect the production number and any confidentiality designation under the Protective

Order to be entered in this action, in the following format: ProdBegBates_ConfidentialityDesig-

nation. To the extent the protocols in paragraphs IV.A.1-3 are impractical or commercially unrea-

sonable for large volumes of native media files, they are excused so long as such files are produced

in native format and are reasonably identifiable.

           B. Documents Received from Non-Parties

       Any Party that receives documents from a non-party pursuant to a subpoena shall make

those documents available to any other Party, at the other Party’s cost.


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         C. Service

       For all motions and other Court filings, the parties agree to rely on automated service

through ECF. For service of documents not filed through ECF, the parties agree to serve, and

accept service, by e-mail. The parties agree to exchange Word copies of all discovery requests

on the date the discovery is served.

         D. Protective Order

       The parties shall confer on the terms of an appropriate protective order that may be

deemed necessary to protect confidential, proprietary information that may be exchanged dur-

ing the course of discovery. The parties will file an appropriate motion for entry of a protective

order on or before December 14, 2018.

         E. Amendments to Pleadings

       Any motion to join parties or amend the narrative complaint or claims or other pleadings

shall be filed on or before April 8, 2019. Notwithstanding the foregoing, Plaintiffs may, with

leave of Court, or by stipulation, file amended versions of Exhibit A (list of sound recordings at

issue) and/or Exhibit B (list of compositions at issue) to the Complaint by May 8, 2019 to con-

form those Exhibits to information learned in discovery.

         F. Settlement Negotiations

       The parties will discuss settlement opportunities and consider the possibility of a settle-

ment conference as the case progresses.

         G. Trial

       A jury trial has been demanded. The parties expect the trial of this matter to last three

weeks. The parties have not consented to trial before a Magistrate Judge.

V.   DISPUTED ISSUES


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         A. BMG Trial Exhibits

       Plaintiffs propose setting a deadline of December 12, 2018 for Cox to provide Plaintiffs

with copies of the public trial exhibits from BMG Rights Management (US) LLC, et al. v. Cox

Enterprises, Inc., et al. (Case 1:14-cv-01611-LO-JFA) (“BMG v. Cox”). The reason Plaintiffs are

raising this issue here is because this is not something Plaintiffs should have to deal with in dis-

covery. The public trial transcript in BMG v. Cox includes references to admitted exhibits. The

bulk of those public documents are directly related to Defendants’ conduct in handling copyright

infringement notices (even if some others concern BMG). Plaintiffs sought to get the exhibits

from the Clerk of the Court but were instructed to get them from the parties. For months, Defend-

ants have refused to provide them. Having the BMG exhibits will facilitate Plaintiffs’ discovery

efforts. Defendants’ refusal to provide them is contrary to the public policy of public trial pro-

ceedings being available to the public. Promptly granting access to them could also avoid hours

of unnecessary work, increase the likelihood of prompt resolution of the case, and avoid wasteful

in-court disputes that would otherwise occur if Plaintiffs are required to seek the exhibits through

discovery.

       Defendants object to informally producing these trial exhibits as Plaintiffs request.

       As a threshold matter, Defendants objected to including this discovery dispute in this

discovery plan because this is not the vehicle by which to air discovery disputes, nor the time.

Because Plaintiffs insisted on including the language above, Defendants have felt compelled to

respond. We apologize for having to introduce this dispute in this document, particularly con-

sidering it may well get resolved, at least in part, in the normal course.

        Defendants object to producing the BMG v. Cox trial exhibits in total and on the expe-

dited time frame requested by Plaintiffs, primarily because it is outside of the formal discovery



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process, and also because many of the requested documents have no relevance to this proceed-

ing. As the Court is aware, the BMG v. Cox litigation involved an entirely different set of Plain-

tiffs and different copyrighted works. We understand there were dozens of boxes of copyright

works of BMG introduced at the BMG trial. Clearly those documents have no bearing on the

issues in this case. Moreover, it is Cox’s understanding that Plaintiffs in the instant litigation

used a different agent to send copyright notices to Cox, a company called Mark Monitor, and

did not use Rightscorp, the agent used by plaintiffs in the BMG litigation. Cox did not block

copyright notices from Mark Monitor. Under the Fourth Circuit’s standard for contributory lia-

bility, this case will involve issues of Cox’s knowledge of specific alleged infringement of Plain-

tiffs’ works by Cox subscribers and whether Cox materially contributed to such infringement.

BMG Rights Mgt. (US) LLC v. Cox Comms., Inc., 881 F.3d 293, 311-12 (4th Cir. 2018) (“con-

tributory infringement requires knowledge of, or willful blindness to, specific instances of in-

fringement”) (emphasis in original). Plaintiffs also served formal document demands for the

BMG v. Cox trial exhibits on November 19, 2018. While Cox has agreed to produce deposition

transcripts for any witness it identifies in its initial disclosures in the Sony case, which will

include many of the requested BMG trial exhibits, to date Plaintiffs have failed to explain why

the entire set of exhibits from the BMG v. Cox trial would be relevant to this case simply because

both cases involve claims of copyright infringement.



Dated: December 12, 2018                               Respectfully submitted,

                                                        /s/ Scott A. Zebrak
                                                       Matthew J. Oppenheim (pro hac vice)
                                                       Scott A. Zebrak (VSB No. 38729)
                                                       Jeffrey M. Gould (pro hac vice)
                                                       OPPENHEIM + ZEBRAK, LLP
                                                       5225 Wisconsin Avenue, NW, Suite 503

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                                              Washington, DC 20015
                                              Tel: 202-480-2999

                                              Attorneys for Plaintiffs

                                              /s/ Thomas M. Buchanan
                                              Thomas M. Buchanan (VSB No. 21530)
                                              WINSTON & STRAWN LLP
                                              1700 K Street, NW
                                              Washington, DC 20006-3817
                                              Tel: (202) 282-5787

                                              Attorney for Defendants

Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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